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' || EXHIBIT G

to

UNITED STATES DISTRICT COURT
* || DISTRICT OF NEVADA

Drew J. Ribar,

* || Plaintiff.

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
7 || Defendants.

8 |! Case No. 3:24-ev-00103-ART-CLB

9
10
A EXHIBIT G— AFFIDAVIT OF DREW J. RIBAR
12
Affidavit Supporting Summary Judgment and Rebuttal of Qualified Immunity
13
I4 . Lo, . . .
I, Drew J. Ribar, declare under penalty of perjury under the laws of the United States and the
15
State of Nevada that the following is true and correct to the best of my knowledge:
16
1? . .
1. Vehicle Ownership
18
iam the registered owner of a 2014 GMC Sierra, which was parked near the Northern
19
10 Nevada Correctional Center on August 30, 2022. during the events giving rise to this
21 litigation.
22 2. Non-Consensual Tow
23
My vehicle was towed without my consent or knowledge by order of Deputy Sean
24
Palamar of the Carson City Sheriff's Office. | was not issued a citation related to the
25
26 parking of the vehicle, and the tow was conducted without a warrant, inventory, or
27 exigent circumstances.
28

PLEADING TITLE - |

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3. Business Ownership and Status
5
~ I built and run A&A Towing, Inc., a family-owned towing business that has served the
3
Carson City area for multiple decades. At the time of the incident and continuing through
4
; today, A&A Towing, Inc. has been an authorized vendor on the Carson City Sheriff's
6 Department’s towing rotation list, regularly responding to law enforcement service
7 calls,
8 .
4, Business Harm
9
The unauthorized tow of my personal vehicle by a competing tow provider, under the
10
1 supervision of the Carson City Sheriff's Office, and the recorded statements threatening
12 my place on the towing rotation (sce Exhibit E, 0:01 :20), reflect retaliatory intent that
13 harmed both my professional reputation and the operations of A&A Towing, Inc.
4 5. Support for Summary Judgment
15
I submit this affidavit in support of my Amended Complaint and forthcoming Motion
16
17 for Summary Judgment under Fed. R. Civ. P. 56, as it demonstrates:
18 o My property was seized without legal justification, in violation of the Fourth and
19 Fourteenth Amendments.
5
70 o The seizure and accompanying statements support claims of First Amendment
2]
retaliation for constitutionally protected filming.
77
33 o My economic and reputational interests were adversely affected without due
24 process.
25
46 Executed on this 27th day of March, 2025, in Washoe Valley, Nevada.
20
27
28
PLEADING TITLE - 2

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/s/ Drew J. Ribar

Drew J. Ribar

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Email: Const2 Audit@gmail.com

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